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UNITED STATES DISTRICT COURT

OF THE DISTRICT OF MAINE

OSCAR E. WEIGANG, JR
Plaintiff
Civil No. 80-1111-B

VS.

THE UNIVERSITY OF MAINE, et al.*

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Defendants

AMENDMENT TO COMPLAINT

To the United States District Court of the District of Maine.

Now comes Plaintiff Oscar E. Weigang, Jr. and pursuant to Rule 15(a)(2),
FedRCivP (“The court ... freely giv[ing] leave when justice so requires.”) OR, in the
alternative, Rule 15(d) FedRCivP for his cause of action under sec. 2 of April 20,
1871, 42 U.S.C. 1985, alternatively under sec. 1 of July 31, 1871, 42 U.S.C. 1983,
seeks declaratory relief to redress deprivation, under color of state law of rights
under the United States Constitution, by conspiring to interfere with Plaintiff's civil
rights and neglecting to prevent interference with Plaintiff's civil rights, the Plaintiff

states the facts set out in the following paragraphs hereof::
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I
Plaintiff Oscar E. Weigang, Jr. is a resident of the State of Maine, residing at
957 Macomber Mill Road, in the Town of Eastbrook, County of Hancock, ME at all

time material and has retained that residency to this date.

I
** Defendants supplemented by this Amendment, agents or officers
of the State of Maine as duly elected Selectmen, and sworn to their duties even under
the United States Constitution, are Julie Curtis, First Selectman of the Town of
Eastbrook; David DeWitt, Second Selectman of the same; and Craig DuBois, Third
selectman of the same, all being active in those positions and attendant

responsibilities at the times pertinent herein.

Il
On or about August 3, 2021, and thereafter, the named Defendants Curtis,
DeWitt, and DuBois deprived the Plaintiff Oscar E. Weigang, Jr. of his Due Process
Rights, Substantive and Procedural, to be heard “at a meaningful time and in a

meaningful manner”. Armstrong v. Manzo, 380 U.S. 545, 552 (1965)
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IV
On or about August 3, 2021, Plaintiff Oscar E. Weigang, Jr. presented to the
Board of Selectmen of the Town of Eastbrook his “MEMORANDUM [of FACTS]
in the matter of the PROPOSED SALE OF 969 MACOMBER MILL RD”. (Exhibit
1, attached). Minutes of the SELECTMAN MEETING of that same date records that
“Oscar left us paperwork on his concern of the Town not having a clear deed to the

property.” (Exhibit 2, attached)

Vv

On or about August 16, 2021, Plaintiff Oscar E. Weigang, Jr. prepared for
submission to the same Board of Selectmen his “MEMORANDUM of LAW in the
matter of the PROPOSED SALE OF 969 MACOMBER MILL RD.” (Exhibit 3,
attached), “Dated: August 17, 2021, for submission to the Board of Selectmen
meeting.” Upon distribution to the Board via the Town Office on August 17, 2021,
he learned that the meeting was held the previous August 16". Minutes of the
Selectmen’s Meeting of that date (Exhibit 4, attached) show no continuing concern

for the matter as raised previously.
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VI
Plaintiff Oscar E. Weigang, Jr. received no notice of that meeting of August
16", nor of any subsequent regular meeting of the board or any special meeting that
would serve as a hearing of his complaint encompassed in Memoranda of Facts and

Law that are Exhibits 2 and 3 attached here.

VII
As a result of the wrongful acts and neglect described herein plaintiff Oscar E.
Weigang is being deprived of his property rights concerning the proposed sale of
“969 Macomber Mill Rd.”
VIII
Wherefore, Plaintiff Oscar E . Weigang, Jr. prays judgment against Julie
Curtis, First Selectman of the Town of Eastbrook; David DeWitt, Second Selectman
of the same; and Craig DuBois, Third selectman of the same, for declaratory relief
under this filing as Civil No. 80-1111-B and its legal progeny as No. 81-6915, In re
Oscar E. Weigang, Jr. [Pro Se] in the U.S. Supreme Court, petition on Common-Law
Writ of Certiorari to the U.S. Court of Appeals for the First Circuit, to ensure

substantive and procedural due process for the Plaintiff and for such other and further

relief as to this Court may seem proper in the premises.
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Signed this 15th day of September, 2021,

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Rule 5(c) (/, U

Oscar E. Weigang, Jr, Plaintiff, pro se
957 Macomber Mill Rd.

Eastbrook, ME 04634

CERTIFICATION OF SERVICE

I, Oscar E. Weigang, Jr., Plaintiff pro se, hereby certify that I served a copy of
the foregoing AMENDMENT TO COMPLAINT:

On Gordon F. Grimes, or his successor, attorney for previous Defendants
herein, by mailing a copy on September 15, 2021 by United States Postal Service,
postage prepaid, to Gordon F, Grimes, or His Successor in this Matter, at Bernstein,
Shur, Sawyer and Nelson, 100 Middle St, Portland, ME 04101, his last known
address, and

On Attorney General Aaron Frey, for Supplemented Defendants herein, by
mailing a copy on September 15, 2021by United States Postal Service, postage
prepaid, to the State of Maine, Office of the Attorney General — Augusta, 6 State
House Station, Augusta, ME, 04333; copy also to: oag.generalcivil@maine.gov and

On Supplemented Defendants herein, by mailing a copy on September 15,
2021 by United States Postal Service, postage prepaid, to each at their respective last
known mailing address: Julie Curtis, First Selectman of the Town of Eastbrook,
1122 Eastbrook Rd., Eastbrook, ME 04634; David DeWitt, Second Selectman of the
same, 25 Clark Point Rd., Eastbrook, ME 04634; and Craig DuBois, Third selectman
of the same, 47 Sugar Hill Rd., Eastbrook, ME 04534.

Dated September 15, 202

 
 
  

Signed , pursuant to Local
Rule 5(c
Oscar E. Weigang, SJr.,
957 Macomber Mill Rd.

Eastbrook, ME 04634

aintiff, pro se
